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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA



                                                                           CASE NUMBER:
                                                          Plaintiff(s),

        v.                                                                    8:19−mc−00005−DOC−JDE

 CASTALIAN PARTNERS VALUE FUND LP
                                                        Defendant(s).              Notice of Pro Hac Vice Application Due


 TO:         Charles B Rogers

 A document recently filed in this case lists you as an out-of-state attorney of record. However, the Court has not been able to locate
 any record that you are admitted to the Bar of this Court, and you have not filed an application to appear Pro Hac Vice in this case.
 Accordingly, within 5 business days of the date of this notice, you must do one of the following:

 •         Complete an Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice (Form G-64, available on the
           Court’s website) and have your local counsel file the Application electronically. The applicable fee must be paid online at
           the time of filing.

 •         Complete the next section of this form, indicating the reason you are not required to file a Pro Hac Vice application in this case,
           and return this form by e-mailing it to cacd_attyadm@cacd.uscourts.gov.

 If you are not required to file a Pro Hac Vice application in this case, indicate the reason:

        I am an active member of the Bar of the United States District Court, Central District of California, admitted on or about
                           . My California State Bar Number is                         .

        I am employed by the U.S. Department of Justice. (Please note that if you are an out-of-state federal government attorney
        not employed by the Department of Justice, you are required to file a Pro Hac Vice application, but you are not required to
        pay the $400 fee.)

        I am not appearing as an attorney of record in this case. (You will be removed as an attorney of record from the docket.)

        By order of the court dated                       in case number                         (see attached copy), I may appear in
        this case without applying for admission to practice pro hac vice.

        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation (“JPML”) pursuant to 28 U.S.C. § 1407
        from the                         District of                       , where it was assigned case number                       .
        I am counsel of record in this case in the transferee district, and I am permitted by the rules of the JPML to continue to
        represent my client in this district without applying for admission to practice pro hac vice and without the appointment of
        local counsel.

        On                      , I was granted permission to appear in this case pro hac vice before the Bankruptcy Court, and
        L.Bankr.R. 8 authorizes the continuation of that representation in this case before the District Court.

        Other reason:

 If within 5 business days of the date of this notice you have not filed a Pro Hac Vice application or returned this completed notice, as
 directed above, the judge to whom this case is assigned will be notified and may impose sanctions at that time. You may also be removed
 as attorney of record from the docket.

                                                                          CLERK, U.S. DISTRICT COURT

 Dated: February 13, 2019                                                 By /s/ Carmen Reyes
                                                                            Deputy Clerk



 G−109 (07/18)                        NOTICE OF PRO HAC VICE APPLICATION DUE
